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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

PEDLAR COSMETIC AND FAMILY                       §
DENTISTRY PLLC,                                  §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §        CIVIL ACTION NO. 4:23-cv-04014
                                                 §
UTICA LLOYD’S OF TEXAS,                          §
                                                 §
        Defendant.                               §

                                   NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendant Utica Lloyd’s of Texas hereby notifies the Court that the parties have reached

an agreement to resolve this matter and are finalizing the settlement. The parties will file a joint

stipulation of dismissal with prejudice upon execution of the settlement documents, which will

dispose of this case in its entirety.

        To preserve judicial economy, the parties request that the Court remove this case from the

pretrial and trial docket and abate any remaining deadlines for sixty (60) days while the parties

finalize the pertinent settlement and dismissal papers.




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                                              Respectfully submitted,


                                              /s/ Daniel P. Buechler
                                              Daniel P. Buechler
                                              State Bar No. 24047756
                                              dbuechler@thompsoncoe.com
                                              Brett D. Gardner
                                              State Bar No. 24078539
                                              bgardner@thompsoncoe.com
                                              Thompson, Coe, Cousins & Irons, L.L.P.
                                              700 North Pearl Street, 25th Floor
                                              Dallas, Texas 75201
                                              Telephone:     (214) 871-8200
                                              Facsimile:     (214) 871-8209

                                              ATTORNEYS FOR DEFENDANT
                                              UTICA LLOYD’S OF TEXAS



                                 CERTIFICATE OF SERVICE

        I certify a true and correct copy of this instrument was served upon the following counsel of
record via electronic mail in accordance with the FEDERAL RULES OF CIVIL PROCEDURE on the 20th
day of November, 2024:

       Chad T. Wilson
       cwilson@cwilsonlaw.com
       Jay Scott Simon
       jsimon@cwilsonlaw.com
       Chad T. Wilson Law Firm PLLC
       455 E. Medical Center Blvd., Suite 555
       Webster, Texas 77598
       832-415-1432

       ATTORNEYS FOR PLAINTIFF
       PEDLAR COSMETIC & FAMILY DENTISTRY PLLC


                                              /s/ Brett D. Gardner
                                              Brett D. Gardner




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